 Case 1:17-cr-10105-STA            Document 327 Filed 06/25/19       Page 1 of 1     PageID
                                             1316




                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF TENNESSEE
                                EASTERN DIVISION

UNITED STATES OF AMERICA,

                      Plaintiff,

-vs-                                               Case No. 1:17-cr-10105-STA

RONALD LYNN PARHAM,

                  Defendant.
______________________________________________________________________________

 ORDER ON MOTION TO CONTINUE SENTENCING AND NOTICE OF RESETTING
______________________________________________________________________________

       This matter came to be heard before the Court upon a motion to continue the sentencing

hearing of Ronald Lynn Parham and without opposition of the Government the motion is well

taken and is hereby granted.

       IT IS THEREFORE ORDERED, that the sentencing hearing in this matter, currently

scheduled for June 25, 2019, shall be rescheduled to Tuesday, August 27, 2019 at 2:30 P.M.

       Entered this 25th day of June, 2019.


                                                   s/S. Thomas Anderson
                                                   CHIEF U.S. DISTRICT JUDGE
